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                    6   Attorneys for Defendant
                        United Healthcare Services Inc.
                    7

                    8                        UNITED STATES DISTRICT COURT
                    9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                   10

                   11   Beach District Surgery Center,             Case No. 2:22-cv-01199-DSF-AGR
                   12                  Plaintiff,                  DEFENDANT UNITED
                                                                   HEALTHCARE SERVICES,
                   13         v.                                   INC.’S NOTICE OF MOTION
                                                                   AND MOTION TO DISMISS
                   14   United Healthcare Services, Inc., and      PURSUANT TO F.R.C.P. 12(b)(6)
                        DOES 1 through 100, inclusive,             OR, IN THE ALTERNATIVE,
                   15                                              FOR MORE DEFINITE
                                       Defendant.                  STATEMENT PURSUANT TO
                   16                                              F.R.C.P. 12(e); MEMORANDUM
                                                                   OF POINTS AND AUTHORITIES
                   17                                              IN SUPPORT THEREOF
                   18

                   19                                              Date: July 11, 2022
                                                                   Time: 1:30 p.m.
                   20                                              Courtroom: 7D
                                                                   Judge: Hon. Dale S. Fischer
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  CROWELL                                                                UNITED HEALTHCARE SERVICES, INC.’S NOTICE
& MORING LLP
ATTORNEYS AT LAW                                                                 OF MOTION AND MOTION TO DISMISS;
                                                                                     CASE NO. 2:22-CV-01199-DSF-AGR
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                    1         TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
                    2         PLEASE TAKE NOTICE that on July 11, 2022 at 1:30 p.m., or as soon
                    3   thereafter as the matter may be heard in courtroom 7D of the above-entitled court,
                    4   located at 350 W. 1st Street, Los Angeles, California 90012, Defendant United
                    5   HealthCare Services, Inc. (“United” or “Defendant”), will move, and hereby does
                    6   move, this Court for an order dismissing the Complaint of Plaintiff Beach District
                    7   Surgery Center (“Plaintiff”), and each and every claim alleged against United
                    8   therein.
                    9         This motion is made pursuant to Federal Rules of Civil Procedure, Rule
                   10   12(b)(6) for failure to state a claim upon which relief can be granted. Plaintiff’s
                   11   claims for relief are subject to dismissal to the extent that they are preempted by the
                   12   Employee Retirement Income Security Act of 1974, 29 U.S.C. Section 1001, et.
                   13   seq. (“ERISA”). In addition, Plaintiff’s claims for relief are subject to dismissal
                   14   because they are insufficiently alleged. This motion is based upon this Notice of
                   15   Motion and Motion to Dismiss and the attached Memorandum of Points and
                   16   Authorities as well as such other oral and/or documentary evidence as may be
                   17   presented at or before the time of the hearing.
                   18         This motion is made following conferences of counsel pursuant to L.R. 7-3,
                   19   which took place on February 23, 2022, and on March 21, 2022.
                   20

                   21   Dated: April 18, 2022                        CROWELL & MORING LLP
                   22
                                                                     By: /s/ Nathanial J. Wood
                   23                                                   Nathanial J. Wood
                                                                        Marlee Santos
                   24                                                   Attorneys for Defendant
                                                                        UNITED HEALTHCARE
                   25                                                   SERVICES, INC.
                   26

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  CROWELL                                                                    UNITED HEALTHCARE SERVICES, INC.’S NOTICE
& MORING LLP                                                                         OF MOTION AND MOTION TO DISMISS;
ATTORNEYS AT LAW
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& MORING LLP                                                                                        UNITED HEALTHCARE SERVICES, INC.’S NOTICE
ATTORNEYS AT LAW                                                                   -vii-                      OF MOTION AND MOTION TO DISMISS;
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                    1                MEMORANDUM OF POINTS AND AUTHORITIES
                    2   I.    INTRODUCTION
                    3         Plaintiff Beach District Surgery Center (“Plaintiff”), an out-of-network
                    4   ambulatory surgery center, brings this case seeking additional payment for health
                    5   care services allegedly provided to 15+ patients (the “Patients”) enrolled in ERISA-
                    6   governed health benefits plans allegedly administered or issued by United. Plaintiff
                    7   alleges that United represented to Plaintiff that it would pay “the usual, customary,
                    8   and reasonable” rates (“UCR rates”) for the services Plaintiff allegedly provided to
                    9   the Patients. However, Plaintiff fails to provide information regarding when the
                   10   promises were made, what UCR rate was at issue, who the representations were
                   11   made to, and/or who they were made by. Plaintiff brings two claims for promissory
                   12   estoppel and negligent misrepresentation based on these alleged facts.
                   13         In the alternative, Plaintiff alleges that United failed to reimburse it for the
                   14   services it provided in accordance with the terms of the Patients’ Employee
                   15   Retirement Income Securities Act of 1974 (“ERISA”) health plans. In support of
                   16   this alternative theory, Plaintiff claims it has standing to sue on behalf of the
                   17   Patients by way of assignment, but fails to provide any factual allegations regarding
                   18   the terms of the assignments. Further, Plaintiff alleges that the health plans are
                   19   governed by ERISA, but fails to identify a single ERISA plan or provision entitling
                   20   the Patient to ERISA recourse.
                   21         Plaintiff’s claims are incurably deficient and should be dismissed for the
                   22   following reasons:
                   23         First, Plaintiff’s promissory estoppel and negligent misrepresentation (“state
                   24   law claims”) are completely preempted by ERISA. Plaintiff alleges that all of the
                   25   services at issue here were provided to Patients with health plans governed by
                   26   ERISA. Plaintiff’s claim with respect to these ERISA-governed plans satisfies the
                   27   Davila test and therefore falls within ERISA’s broad preemption standard.
                   28   Plaintiff’s state law claims also qualify for preemption under § 514’s broad
  CROWELL
& MORING LLP                                                                  UNITED HEALTHCARE SERVICES, INC.’S NOTICE
ATTORNEYS AT LAW
                                                                   -1-                OF MOTION AND MOTION TO DISMISS;
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                    1   preemptive force. Accordingly, Plaintiff’s state law claims related to these Patients
                    2   are preempted and should be dismissed.
                    3          Second, should the Court find that the state law claims are not preempted by
                    4   ERISA, the Court should still grant dismissal of the state law claims for Plaintiff’s
                    5   failure to meet basic pleading standards for both claims.
                    6          Third, Plaintiff cannot state a claim under its alternatively pleaded ERISA
                    7   count. Preliminarily, Plaintiff fails to allege it has standing to sue under ERISA, as
                    8   Plaintiff does not identify any of the alleged ERISA plans, nor properly allege the
                    9   existence of an ERISA plan. Next, Plaintiff fails to identify a single term of the
                   10   unidentified ERISA plans, much less articulate a breach of any term that would
                   11   entitle it to the rights or benefits it is claiming. Finally, Plaintiff’s bare allegation
                   12   that any further appeal would be futile does not adequately allege that it exhausted
                   13   the administrative remedies available to it prior to bringing suit, as required.
                   14          Plaintiff’s Complaint should be dismissed with prejudice. In the alternative,
                   15   Plaintiff should be ordered to amend its Complaint to identify specific facts
                   16   regarding the 34 medical claims that make up Plaintiff’s negligent
                   17   misrepresentation claim in addition to providing the specific terms of the health
                   18   plans United purportedly breached under ERISA.
                   19   II.    BACKGROUND1
                   20          Plaintiff is an “‘out-of-network provider’… who “does not have a written
                   21   contract or preferred provider agreement” with United. (Compl., ¶ 11). Plaintiff
                   22   alleges that it “provided [ambulatory surgery center] facilities for at least 15
                   23   Patients” “for no less than 34 medical procedures” rendered to patients whose
                   24
                        1
                          For purposes of this motion only, United accepts as true the properly-pled factual
                   25   allegations in Plaintiff’s Complaint, as the Court must do in analyzing this motion.
                        Soo Park v. Thompson, 851 F.3d 910, 918 (9th Cir. 2017). United does not concede
                   26   that any of these allegations are accurate. Neither United nor the Court are required
                        at this stage to accept Plaintiff’s legal conclusions (see id.; see also Cal. Trucking
                   27   Ass’n v. Su, 903 F.3d 953, 957 n.2 (9th Cir. 2018)) or “naked assertions devoid of
                        further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
                   28   (quotation marks and alteration omitted) (quoting Bell Atl. Corp. v. Twombly, 550
  CROWELL
                        U.S. 544, 557 (2007)).
& MORING LLP                                                                    UNITED HEALTHCARE SERVICES, INC.’S NOTICE
ATTORNEYS AT LAW
                                                                    -2-                 OF MOTION AND MOTION TO DISMISS;
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                    1   health benefits plans were administered by United. (Id., ¶¶ 7-8, 28). Plaintiff claims
                    2   that prior to each procedure it would “contact [United] to obtain representations and
                    3   promises regarding the manner in which [United] pays for medical services and the
                    4   specific medical services at issue for each of the patients.” (Id., ¶ 29) Plaintiff
                    5   alleges that United negligently misrepresented and falsely promised Plaintiff that it
                    6   would pay an agreed upon rate for the services it provided the Patients. (Id., ¶¶ 39-
                    7   40, 57-59, 64-66). Plaintiff alleges that United agreed to pay the “usual, customary,
                    8   and reasonable” rates (“UCR rates”) for the services it provided. (Id., ¶¶ 14-16).
                    9   Plaintiff claims that instead of paying the UCR rates, United paid Plaintiff for the
                   10   services at Medicare rates. (Id., ¶¶ 40,58-59, 68).
                   11         In the alternative, Plaintiff alleges that it is “owed proper reimbursement”
                   12   with respect to each Patient’s health benefits plan. (Id., ¶¶ 21-23). Plaintiff alleges
                   13   that the Patients’ health plans at issue are governed by ERISA. (Id., ¶ 22). Plaintiff
                   14   claims that it “obtained an assignment from each Patient granting [it] the right to
                   15   step into the shoes of each Patient with respect to each Patient’s rights under each
                   16   Patient’s ERISA Plan,” and therefore has the right to “seek proper reimbursement”
                   17   under ERISA. (Id., ¶ 23). Plaintiff alleges that it “has spent significant time and
                   18   money” and “sent out multiple appeal letters”, and has thereby exhausted its
                   19   administrative remedies as required under ERISA, and that “any further attempts”
                   20   to retrieve further payment “would be futile.” (Id., ¶ 25-26). Plaintiff does not
                   21   provide specific examples of the assignment agreements nor the alleged appeals.
                   22   (Id., passim.)
                   23         For all its claims, Plaintiff alleges that it has been damaged in an amount
                   24   equal to what it should have received had United paid the UCR rates for its services
                   25   or, alternatively, that it seeks to recover ERISA benefits due under the terms of the
                   26   Patients plans. (Id., 62, 69, 76).
                   27

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                    1   III.   ARGUMENT
                    2          A.    Legal Standard
                    3          To survive a motion to dismiss for failure to state a claim under Rule
                    4   12(b)(6), a plaintiff must allege “enough facts to state a claim to relief that is
                    5   plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-557
                    6   (2007). A Rule 12(b)(6) dismissal can be based on the failure to allege a cognizable
                    7   legal theory or the failure to allege sufficient facts under a cognizable legal theory.
                    8   Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530, 533-34 (9th Cir. 1984).
                    9   Plaintiff must provide grounds of its entitlement to relief beyond mere labels and
                   10   conclusions or formulaic recitation of the elements of the causes of action. See
                   11   Twombly, 550 U.S. at 555-57.
                   12          A motion to dismiss under Rule 12(b)(6) “tests the legal sufficiency of a
                   13   claim.” Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). Dismissal can be
                   14   based on the lack of a cognizable legal theory or the absence of sufficient facts
                   15   alleged under a cognizable legal theory. Balistreri v. Pacifica Police Dept., 901
                   16   F.2d 696, 699 (9th Cir. 1988).
                   17          B.    ERISA Preempts Plaintiff’s State Law Claims
                   18          ERISA contains two preemption clauses. First, § 502(a) allows a beneficiary
                   19   or participant of an ERISA-regulated plan to bring a civil action “to recover
                   20   benefits due to him under the terms of his plan, to enforce his rights under the terms
                   21   of the plan, or to clarify his rights to future benefits under the terms of the plan.” 29
                   22   U.S.C. § 1132(a)(1)(B). Under § 502(a)’s civil enforcement scheme, a beneficiary
                   23   may recover accrued benefits due, obtain a declaratory judgment with respect to the
                   24   entitlement to benefits, or obtain injunctive relief requiring the administrator to pay
                   25   improperly denied benefits. See Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41, 53
                   26   (1987). ERISA’s second preemption clause, § 514(a), explicitly “supersede(s) any
                   27   and all State laws insofar as they . . . relate to any employee benefit plan.” 29
                   28   U.S.C. § 1144(a). The Supreme Court repeatedly has held that § 514(a)’s express
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                    1   preemption provisions are far-reaching. Shaw v. Delta Air Lines, Inc., 463 U.S. 85,
                    2   96-103 (1983); FMC Corp. v. Holliday, 498 U.S. 52, 58-59 (1990); Pilot Life Ins.
                    3   Co., 481 U.S. at 45-46.
                    4          Plaintiff’s state law claims simply seek to obtain plan benefits to which
                    5   Plaintiff believes it is entitled. Indeed, but for the Patients’ ERISA-governed health
                    6   benefits plans, Plaintiff would not be suing United. Accordingly, Plaintiff’s claims
                    7   should be dismissed as falling within ERISA’s expansive preemption clause.
                    8
                                      1.     Complete preemption exists because both prongs of the
                    9                        Davila test have been satisfied.
                   10          State-law claims are completely preempted when they meet the “Davila test.”
                   11   Aetna Health Inc. v. Davila, 542 U.S. 200, 210 (2004). This test asks (1) whether
                   12   the plaintiff could have brought its claim under ERISA § 502(a) and (2) whether no
                   13   other independent legal duty supports the plaintiff’s claim. See Marin Gen. Hosp. v.
                   14   Modesto & Empire Traction Co., 581 F.3d 941, 945 (9th Cir. 2009). Here, both
                   15   prongs of the Davila test are met.
                   16          With respect to Davila’s first prong, Plaintiff brings an ERISA claim,
                   17   alleging that it has standing because it “obtained an assignment from each Patient
                   18   granting [Plaintiff] the right to step into the shoes of each Patient with respect to
                   19   each Patient’s rights under each Patient’s ERISA Plan…” (Compl., ¶ 23.) Plaintiff
                   20   further alleges that “[a]s the assignee of benefits under the ERISA Plans, [Plaintiff]
                   21   is a ‘beneficiary’ entitled to collect benefits, and is the ‘claimant’ for purposes of
                   22   the ERISA statute and regulations.” (Compl., ¶ 74.) Therefore, based on Plaintiff’s
                   23   allegations that it stands in the shoes of its patients, Davila’s first prong is satisfied.
                   24   See Davidowitz v. Delta Dental Plan of California, 946 F.2d 1476, 1477 (9th Cir.
                   25   1991) (“Under ERISA, a beneficiary has standing to bring a civil action for non-
                   26   payment.... A health care provider with an allegedly valid assignment has the same
                   27   standing.”); see also St. Mary Med. Ctr. v. Cristiano, 724 F. Supp. 732, 740 (C.D.
                   28   Cal. 1989) (explaining that the hospital that provided medical services had standing
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                    1   to sue under ERISA not because the hospital was itself a “plan participant,
                    2   beneficiary, or fiduciary,” but because the hospital “ha[d] submitted evidence that
                    3   [the beneficiary] made an assignment of her rights of reimbursement to the
                    4   hospital”).
                    5         Next, Davila’s second prong is met because Plaintiff’s state law claims are,
                    6   at bottom, seeking amounts owed due to the existence of and United’s alleged
                    7   obligations resulting from ERISA-governed health benefits plans. See Lodi Mem’l
                    8   Hosp. Ass’n v. Tiger Lines, LLC, No. 15-cv-319, 2015 WL 5009093, at *6 (E.D.
                    9   Cal. Aug. 20, 2015) (“[I]n alleging that the Defendants improperly paid less than
                   10   the full amount of Plaintiff’s billings, Plaintiff identifies no independent contract,
                   11   agreement or obligation apart from obligations under the plan agreement itself.”).
                   12   Plaintiff tacitly admits this by pleading his ERISA claim in the alternative. (Compl.,
                   13   passim.)
                   14         Plaintiff’s bald assertions of an entitlement to vague rates without additional
                   15   detail is insufficient as a matter of law in California, and thus does not confer any
                   16   independent legal duty. (See, e.g., Compl. ¶¶ 16, 20, 37, 55, 62, 69, 71.) See also
                   17   Pacific Bay Recovery, Inc. v. California Physicians’ Servs., Inc., 12 Cal. App. 5th
                   18   200, 215 (2017) (rejecting provider’s quantum meruit claim where the provider did
                   19   not offer “more detailed allegations that Blue Shield authorized a certain amount of
                   20   treatment or agreed to pay a specific rate”). Likewise, under the second prong of
                   21   Davila, the central question is whether “there is no other independent legal duty
                   22   that is implicated by a defendant’s actions.” Davila, 542 U.S. at 210 (emphasis
                   23   added). “State law legal duties are not independent of ERISA where interpretation
                   24   of the terms of the benefit plan ‘forms an essential part’ of the claim, and legal
                   25   liability can exist ‘only because of [the defendant’s] administration of ERISA-
                   26   regulated benefit plans.’” McGill v. Pac. Bell Tel. Co., 139 F. Supp. 3d 1109, 1120
                   27   (C.D. Cal. 2015) (quoting Davila, 542 U.S. at 213). Yes this is precisely what
                   28   Plaintiff alleges here in support of its state law claims—that the alleged statements
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                    1   United purportedly made related to the terms of the Patients’ ERISA-regulated
                    2   benefit plans, and were made in the course and scope of United’s administration of
                    3   those ERISA plans.
                    4         The Ninth Circuit has held that ERISA preempts state law claims based on
                    5   precisely those same types of allegations. In Cleghorn v. Blue Shield of California,
                    6   408 F.3d 1222, 1222-27 (9th Cir. 2005) and Olson v. Gen. Dynamics Corp., 960
                    7   F.2d 1418, 1419-25 (9th Cir. 1991), the plaintiffs asserted state law claims based on
                    8   alleged misrepresentations similar to those alleged by the Plaintiff here. The Ninth
                    9   Circuit ruled that claims based on alleged misrepresentations relating to the amount
                   10   and calculation of plaintiffs’ benefits were preempted because they arose solely out
                   11   of the ERISA plans. Id. These cases control the result here. Plaintiff’s allegations
                   12   relate solely to United’s administration of ERISA plans. No other independent
                   13   legal duty is implicated, and thus the second prong of Davila is met.
                   14         Plaintiff will likely argue that § 502 (a) is jurisdictional in nature and
                   15   therefore cannot be the basis for a motion to dismiss. However, this case is before
                   16   the Court on diversity grounds in addition to federal question jurisdiction.
                   17   Accordingly, § 502(a) can be utilized to defeat state law claims. See Fossen v. Blue
                   18   Cross and Blues Shield of Montana, Inc., 660 F.3d 1102, 1107 (9th Cir. 2011) (“All
                   19   of these preemption provisions [including § 502(a)] defeat state-law causes of
                   20   action on the merits”) (citing Cleghorn, 408 F.3d at 1227).
                   21         Ultimately, Plaintiff alternatively pleads an ERISA cause of action because it
                   22   is inescapable that any duty by United to pay Plaintiff originates from the existence
                   23   of an ERISA plan. Davila’s second prong is fulfilled. With both Davila prongs
                   24   satisfied, Plaintiff’s state law claims are completely preempted by ERISA and
                   25   should therefore be dismissed.
                   26                2.    Express Preemption Applies Because Plaintiff’s state law
                                           claims are based on determinations made in connection with
                   27                      ERISA-governed plans.
                   28         Additionally, Plaintiff’s state law claims are also preempted by ERISA
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                    1   section 514(a). Section 514(a) provides that, subject to various exceptions not
                    2   applicable here, ERISA “supersede[s] any and all State laws insofar as they may ...
                    3   relate to any employee benefit plan.” 29 U.S.C. § 1144(a). The basic purpose of this
                    4   provision is “to avoid a multiplicity of regulation in order to permit the nationally
                    5   uniform administration of employee benefit plans.” N.Y. State Conference of Blue
                    6   Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 657 (1995); see
                    7   Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 142 (1990) (explaining that
                    8   Congress enacted ERISA “to ensure that plans and plan sponsors would be subject
                    9   to a uniform body of benefits law”).
                   10         Consistent with these principles, the federal courts, including this Court and
                   11   the Ninth Circuit, have routinely applied Section 514(a) to find that state tort or
                   12   statutory claims based on laws of general application are preempted by ERISA
                   13   when the claims “relate to” actions taken in administering an ERISA plan. See
                   14   Montour v. Hartford Life & Accident Ins. Co., No. CV 07-5215 DSF (RZX), 2007
                   15   WL 9657702 at *4 (C.D. Cal. Oct. 1, 2007) (holding that plaintiff’s promissory
                   16   estoppel claim was preempted by ERISA); DeVoll v. Burdick Painting, Inc., 35
                   17   F.3d 408, 412 (9th Cir. 1994) (“The Ninth Circuit has held that ERISA preempts
                   18   common law theories of breach of contract implied in fact, promissory estoppel,
                   19   estoppel by conduct, fraud and deceit, and breach of contract.”) (quoting Ellenburg
                   20   v. Brockway. Inc., 763 F.2d 1091, 1095 (9th Cir. 1985)); see also Pilot Life Ins. Co.
                   21   v. Dedeaux, 481 U.S. 41, 57 (1987); Tingey v. Pixley-Richards West, Inc., 953 F.2d
                   22   1124, 1130 (9th Cir. 1996); Olson, 960 F.2d at 1423 (holding that plaintiff’s fraud
                   23   claim alleging misrepresentation of benefits “related to” employee benefit plan and
                   24   was therefore preempted by ERISA). Accordingly, no separate legal duty can be
                   25   created when an administrator of a health plan simply follows the plan terms. See
                   26   Montefiore Med. Ctr. v. Teamsters Local 272, 642 F.3d 321, 332 (2d Cir. 2011).
                   27         Here, again, Plaintiff’s choice to alternatively plead an ERISA claim is
                   28   dispositive of this inquiry. The Complaint alleges that United’s actions in this case
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                    1   were carried out pursuant to its role as a benefits administrator for ERISA-governed
                    2   benefits plans. (Compl., ¶¶ 6, 7, 21, 22.) Moreover, in both (1) alleging that all the
                    3   health plans at issue are governed by ERISA and (2) bringing an ERISA claim in
                    4   the alternative, Plaintiff cannot dispute that the essence of its state law claims seek
                    5   additional benefits under the patients’ ERISA-governed health benefits plans. See,
                    6   e.g., Wise v. Verizon Commc’ns, Inc., 600 F.3d 1180, 1191 (9th Cir. 2010) (“Wise’s
                    7   state law claims are preempted because her complaint necessarily references an
                    8   ERISA plan. The state law theories of fraud, misrepresentation, and negligence all
                    9   depend on the existence of an ERISA-covered plan to demonstrate that Wise
                   10   suffered damages: the loss of insurance benefits.”). Thus, any recovery theory
                   11   under the state law claims—necessarily based on determinations made under the
                   12   ERISA-governed plans—is expressly preempted by ERISA. See Greany v. W.
                   13   Farm Bureau Life Ins. Co., 973 F.2d 812, 817 (9th Cir. 1992) (finding state law
                   14   claims preempted by ERISA, emphasizing that “ERISA contains one of the
                   15   broadest preemption clauses ever enacted by Congress” (citation omitted)).
                   16   Plaintiff’s state law claims should be dismissed pursuant to § 514 as well.2
                   17
                        2
                          During the parties’ meet and confer discussions, Plaintiff’s counsel cited two
                   18   decisions it argues holds that allegations of the type in the Complaint are sufficient
                        to overcome a Rule 12 challenge: Brand Surgical Institute v. Aetna Life Insurance
                   19   Co., No. 2:21-cv-08642-AB (Ex) (decided March 7, 2022) and O.C. Multispecialty
                        Center v. Blue Cross and Blue Shield of Kansas City, et al., No. 2:21-cv-05062-
                   20   JFW-E (decided February 8, 2022). However, these cases are readily
                        distinguishable and therefore inapposite.
                   21
                        First, Plaintiff may seek to rely on these decisions to argue that ERISA does not
                   22   preempt the state law claims at issue here. However, the representations at issue in
                        those cases were pleaded in substantially more detail. The provider plaintiffs in
                   23   those cases included information including the exact date and time of the alleged
                        representations, the exact procedure codes at issue, and specific representations
                   24   about the amount the payer allegedly stated it paid for the procedure codes. The
                        detailed representations at issue in those cases allowed the Court to determine an
                   25   independent duty existed sufficient to overcome § 514(a) preemption. Because the
                        allegations are so vague and conclusory here that it is impossible to confirm if an
                   26   independent duty arises, Plaintiff’s reliance on these cases should be disregarded.
                   27   Second, Plaintiff will likely also rely on these decisions to argue that its state law
                        claims are well-pleaded in response to the argument in Section E, infra. Again,
                   28   however, these cases are inapposite based on the thorough allegations made by the
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                        plaintiff providers in those cases versus the sparse allegations at issue here. The
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                    1         C.     Plaintiff Lacks Standing to Bring an ERISA Claim
                    2         To have standing to bring an ERISA claim, a plaintiff must fall within one of
                    3   ERISA’s specific civil enforcement provisions, which detail who may bring suit
                    4   and what remedies are available. Reynolds Metals Co. v. Ellis, 202 F.3d 1246, 1247
                    5   (9th Cir. 2000) (citing 29 U.S.C. § 1132(a)(1)–(9)). Out-of-network health care
                    6   providers do not fall within any of those specific categories and can bring claims
                    7   only derivatively based on an assignment of benefits from their patients. See
                    8   Spinedex Physical Therapy USA Inc. v. United Healthcare of Ariz., Inc., 770 F.3d
                    9   1282, 1289 (9th Cir. 2014).
                   10         To determine whether the plaintiff has received a valid assignment, the court
                   11   “must look to the language of an ERISA assignment itself . . . .” In re Wellpoint,
                   12   Inc. Out-of-Network UCR Rates Litig., 903 F. Supp. 2d 880, 896 (C.D. Cal. 2012);
                   13   see also Eden Surgical Ctr. v. B. Braun Med., Inc., 420 F. App’x 696, 697 (9th Cir.
                   14   2011). “Assignment agreements are generally interpreted narrowly.” Advanced
                   15   Women’s Health Ctr., Inc. v. Anthem Blue Cross Life & Health Ins. Co., 2014 U.S.
                   16   Dist. LEXIS 100682, at *10 (E.D. Cal. July 23, 2014), aff’d sub nom. DB
                   17   Healthcare, LLC v. Blue Cross Blue Shield of Ariz., Inc., 852 F.3d 868 (9th Cir.
                   18   2017) (quoting Sanctuary Surgical Ctr., Inc. v. Aetna Inc., 546 F. App’x 846, 851
                   19   (11th Cir. 2013)). “Assignees’ rights cannot exceed the rights granted by the
                   20   assignment.” Id. (citing Eden Surgical Ctr., 420 F. App’x at 697).
                   21         Here, Plaintiff—an out-of-network provider, see Compl. ¶¶ 10-13—claims to
                   22   have standing via “an assignment from each Patient granting [Plaintiff] the right to
                   23   step into the shoes of each Patient with respect to each Patient’s rights under each
                   24   Patient’s ERISA Plan, including but not limited to the right to seek proper
                   25

                   26   detailed representations at issue in those cases allowed the Court to determine the
                        state law claims there were sufficiently pleaded. A cursory review of the Complaint
                   27   here confirms that no such allegations have been pleaded in this case. Once again,
                        Plaintiff’s reliance on these cases should be disregarded.
                   28
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                    1   reimbursement for medical services as well as to seek legal redress for Defendant’s
                    2   failure to properly administer the terms of an ERISA Plan.” (Compl. ¶ 23.)
                    3         Notably, Plaintiff neither provides the language of the alleged assignments
                    4   nor attaches any assignments to its Complaint. Accordingly, there is no way to
                    5   ascertain the breadth of the assignment, including whether it assigns the patients’
                    6   ERISA plan rights and benefits to the provider or is more aptly characterized as a
                    7   payment authorization. See Advanced Women’s Health Ctr., 2014 U.S. Dist. LEXIS
                    8   100682, at *4 n.4, 10–11 (finding alleged assignments stating “I hereby Authorize
                    9   My Insurance Benefits To Be Paid Directly To The Physician…” did not confer
                   10   any right beyond the right to receive direct payment and that plaintiffs lacked
                   11   standing to bring ERISA claims); see also Barix Clinics of Ohio, Inc. v.
                   12   Longaberger Fam. of Cos. Grp. Med. Plan, 459 F. Supp. 2d 617, 624 (S.D. Ohio
                   13   2005) (“The mere fact that a participant or beneficiary assigns payment for unpaid
                   14   charges directly to the provider, as occurred in this case, does not constitute an
                   15   assignment of every right or cause of action the participant or beneficiary may have
                   16   under ERISA.”).
                   17         Plaintiff’s failure to provide the specific language in the assignment or the
                   18   assignment itself means that Plaintiff fails to adequately allege that it has standing
                   19   to pursue a claim for benefits under ERISA. Creative Care, Inc. v. Connecticut
                   20   Gen. Life Ins. Co., No. CV169056DMGAGRX, 2017 WL 5635015, at *3 (C.D.
                   21   Cal. July 5, 2017) (dismissing complaint for lack of standing where plaintiff did not
                   22   “plead sufficient factual allegations about the assignments”) (citing Progressive
                   23   Spine & Orthopaedics, LLC v. Empire Blue Cross Blue Shield, 2017 WL 751851 at
                   24   *5 (D.N.J. Feb. 27, 2017) (“[A] conclusory statement merely alleging that a
                   25   provider was assigned plan benefits from its patients does not plausibly
                   26   demonstrate standing.”)). Plaintiff’s entire Complaint is thereby ripe for dismissal.
                   27   See Mo. ex rel. Koster v. Harris, 847 F.3d 646, 656 (9th Cir. 2017) (affirming
                   28   dismissal without leave to amend where plaintiff would be unable to assert standing
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                    1   in an amended complaint).
                    2          D.      Plaintiff Fails To Sufficiently State An ERISA Claim
                    3                  1.    Plaintiff fails to plead necessary elements of ERISA claim
                    4          Plaintiff’s ERISA claim fails because Plaintiff neglects to allege a single fact
                    5   regarding the ERISA plans at issue or the provisions of said plans that enable it to
                    6   seek relief.
                    7          “A civil action may be brought (1) by a participant or beneficiary . . . (B) to
                    8   recover benefits due to him under the terms of his plan, to enforce his rights under
                    9   the terms of the plan, or to clarify his rights to future benefits under the terms of the
                   10   plan.” 29 U.S.C. § 1132(a)(1)(B). Plaintiff says it is seeking to recover benefits and
                   11   enforce rights to benefits under 29 U.S.C. § 1132(a)(1)(B), but nowhere in the
                   12   Complaint does Plaintiff identify an ERISA plan, or state the terms of an ERISA
                   13   plan that it believes entitle it to benefits it did not receive or grant it rights it was not
                   14   extended. (Compl., passim.) Instead, Plaintiff’s allegations boil down to the
                   15   allegation that the “health plans at issue in this litigation are health plans governed
                   16   by [ERISA].” (Compl., ¶ 22.) Without more, this allegation does not state a cause
                   17   of action under ERISA.
                   18          “‘To state a claim [for benefits under ERISA § 502(a)(1)(B)], plaintiff must
                   19   allege facts that establish the existence of an ERISA plan as well as the provisions
                   20   of the plan that entitle it to benefits.’” Almont Ambulatory Surgery Ctr., LLC v.
                   21   UnitedHealth Grp., Inc., 99 F. Supp. 3d 1110, 1155 (C.D. Cal. 2015) (quoting
                   22   Forest Ambulatory Surgical Assocs., L.P. v. United HealthCare Ins. Co., 2011 U.S.
                   23   Dist. LEXIS 75433, at *13 (N.D. Cal. July 13, 2011)). “‘Failure to identify the
                   24   controlling ERISA plans makes a complaint unclear and ambiguous.’” Id. (quoting
                   25   Forest Ambulatory, 2011 U.S. Dist. LEXIS 75433, at *13). In addition, recovery is
                   26   “limited to those benefits that the plaintiff contends are actually covered under the
                   27   Plan’s existing terms.” Raygoza v. Conagra Foods, Inc., 2016 U.S. Dist. LEXIS
                   28   191942, at *14 (C.D. Cal. Nov. 4, 2016). A plaintiff must identify the specific plan
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                    1   terms that confer the benefits it is claiming. Id. at *13 (describing this requirement
                    2   as “indispensable”); see Dragu v. Motion Picture Indus. Health Plan, 2015 U.S.
                    3   Dist. LEXIS 188575, at *5 (N.D. Cal. Feb. 9, 2015) (finding otherwise properly
                    4   asserted claim “must nevertheless be dismissed because [the complaint] fails to
                    5   specify the plan provision under which [plaintiff] is allegedly entitled to
                    6   coverage”).
                    7         Here, Plaintiff does not identify a single ERISA plan nor a single term of
                    8   such plan. The Court recently faced a similarly deficient complaint in Brand
                    9   Tarzana Surgical Institute v. Blue Cross Blue Shield of Illinois, 2019 U.S. Dist.
                   10   LEXIS 238344 (C.D. Cal. Apr. 22, 2019), aff’d, 833 F. App’x 714 (9th Cir. 2021).
                   11   There, Plaintiff, a surgery center, filed a complaint alleging “[defendant] provides
                   12   health insurance plans ‘typically subject to and governed by ERISA . . . ; serves as
                   13   the claims administrators of those plans . . . . Plaintiff provided surgery services to
                   14   9 patients covered under these plans . . . . for which the plans ‘typically pay . . .
                   15   something in the range of 50%–100% of [the provider’s] billing amounts.” Id. at
                   16   *1. “Plaintiff [sought] to recover benefits for 16 surgery events it billed to
                   17   [defendant] between 2013 and 2016, for which [defendant] provided only partial
                   18   payment.” Id. at *2. The Court dismissed the complaint, because “[p]laintiff [did]
                   19   not identify any specific plan at issue, nor plead other facts that plausibly
                   20   demonstrate that the patients at issue are participants in a plan governed by
                   21   ERISA.” Id. at *5.
                   22         Moreover, the Court held that “Plaintiff’s conclusory allegations [were]
                   23   insufficient.” Id. The Court also noted that plaintiff failed “to adequately describe
                   24   the provision of any plan that purportedly entitles it to benefits.” Id. The Court
                   25   summarized plaintiff’s allegations as “simply identif[ying] various medical events
                   26   by the date it submitted a claim to [defendant], the amount it billed, and the amount
                   27   [defendant] paid,” and providing a percentage range at which defendant allegedly
                   28   typically paid (which is, arguably, more than Plaintiff provided here). Id. The Court
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                    1   held that “[t]hese allegations are insufficient to permit the Court to draw the
                    2   reasonable inference that the defendant is liable for the misconduct alleged, to
                    3   enable [defendant] to defend itself effectively, or to require [defendant] to be
                    4   subjected to the expense of discovery and continued litigation.” Id. (internal
                    5   quotation marks omitted).
                    6         Plaintiff brings a similarly deficient claim here. Plaintiff alleges that the
                    7   patients are members of health plans governed by ERISA, but fails to identify the
                    8   underlying plans and/or terms at issue. Moreover, Plaintiff fails to provide any
                    9   meaningful allegations regarding the “who, what, where” of the claims themselves.
                   10   Taken together, this pleading is insufficient and, as in Brand Tarzana, this Court
                   11   should dismiss the Complaint for failure to state a claim.
                   12
                                     2.     Plaintiff’s conclusory allegations fail to establish exhaustion
                   13                       of remedies.
                   14         Plaintiff’s ERISA claim is also subject to dismissal because Plaintiff fails to
                   15   adequately plead administrative remedies were exhausted sufficient to maintain its
                   16   ERISA claim.
                   17         “[A]n ERISA plaintiff claiming a denial of benefits ‘must avail himself or
                   18   herself of a plan’s own internal review procedures before bringing suit in federal
                   19   court.’” Vaught v. Scottsdale Healthcare Corp. Health Plan, 546 F.3d 620, 626 (9th
                   20   Cir. 2008) (quoting Diaz v. United Agric. Emp. Welfare Benefit Plan & Tr., 50 F.3d
                   21   1478, 1483 (9th Cir. 1995)). It has long been the rule in the Ninth Circuit that
                   22   “federal courts have the authority to enforce the exhaustion requirement in suits
                   23   under ERISA, and that as a matter of sound policy they should usually do so.”
                   24   Amato v. Bernard, 618 F.2d 559, 567–68 (9th Cir. 1980) (concluding “from both
                   25   the legislative history and the text of ERISA that Congress did intend to grant such
                   26   authority to the courts, and that sound policy requires the application of the
                   27   exhaustion doctrine in suits under the Act”).
                   28         “ERISA itself requires covered benefit plans to provide administrative
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                    1   remedies for persons whose claims for benefits have been denied” in order to “help
                    2   reduce the number of frivolous lawsuits under ERISA; to promote the consistent
                    3   treatment of claims for benefits; to provide a nonadversarial method of claims
                    4   settlement; and to minimize the costs of claims settlement for all concerned.” Id. at
                    5   567. And the court’s enforcement promotes those ends. Id.
                    6         Courts in the Ninth Circuit consistently require that a plaintiff exhaust the
                    7   available internal review procedures prior to bringing suit. See, e.g., Korman v.
                    8   ILWU-PMA Claims Office, 2019 U.S. Dist. LEXIS 58646, at *40–41 (C.D. Cal.
                    9   Mar. 19, 2019) (granting motion to dismiss for failure to allege administrative
                   10   exhaustion); Adan v. Kaiser Found. Health Plan, Inc., 2018 U.S. Dist. LEXIS
                   11   36683, at *17–20 (N.D. Cal. Mar. 6, 2018) (dismissing ERISA claim because
                   12   plaintiff’s failure to exhaust was evident from the face of the complaint); Raygoza
                   13   v. ConAgra Foods, Inc. Welfare Benefit WRAP Plan, 2016 U.S. Dist. LEXIS
                   14   101755, at *8–15 (C.D. Cal. Mar. 9, 2016) (granting motion to dismiss because
                   15   plaintiff failed to establish exhaustion of remedies).
                   16         Here, Plaintiff alleges that it “sent numerous appeal letters to Defendant in
                   17   accordance with ERISA to exhaust all of each Patient’s and now [Plaintiff’s]
                   18   administrative remedies[,]” that it “spent significant time and money in jumping
                   19   through the necessary hoops in exhausting its administrative remedies under
                   20   ERISA[,]” but that “any further appeals would be futile.” (Compl. ¶¶ 25, 26, 47.)
                   21   These bare assertions and legal conclusions do not provide the Court with any
                   22   meaningful way to evaluate whether in fact Plaintiff exhausted its administrative
                   23   remedies or whether any further efforts were futile for the dozens of claims at issue.
                   24   See Grenell v. UPS Health & Welfare Package, 390 F. Supp. 2d 932, 935 (C.D.
                   25   Cal. 2005) (finding plaintiff failed to exhaust administrative remedies and futility
                   26   exception did not apply where it provided only conclusory allegations claiming
                   27   “[a]ny attempt by [plaintiff] to file further appeals, or to perfect additional or new
                   28   claims, would have met with the same result: denial”); see also Diaz, 50 F.3d at
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                    1   1485 (“bare assertions of futility are insufficient to bring a claim within the futility
                    2   exception”). On this separate basis, Plaintiff’s ERISA claim is ripe for dismissal.
                    3         E.     If Not Preempted, Plaintiff’s State Law Claims Should Still Be
                                     Dismissed
                    4
                                     1.     Plaintiff’s Promissory Estoppel Claim Cannot Withstand
                    5                       Scrutiny
                    6         Plaintiff’s promissory estoppel claim fails because a contract governing the
                    7   terms of reimbursement exists and because Plaintiff fails to plead the necessary
                    8   elements of the claim for the 34+ services at issue.
                    9         Under California law “[i]f the dispute between the parties is governed by a
                   10   contract, the doctrine of promissory estoppel is inapplicable.” Drake v. Option One
                   11   Mortg. Corp., No. SACV0901450CJCRNBX, 2010 WL 11464891, at *4 (C.D. Cal.
                   12   Apr. 15, 2010) (citing Youngman v. Nev. Irr. Dist., 70 Cal. 2d 240, 249 (Cal. 1969))
                   13   (emphasis added). This is because a plaintiff may not bring a cause of action for
                   14   promissory estoppel when it has other available legal remedies. See, e.g., Glen
                   15   Holly Entm’t Inc. v. Tektronix Inc., 352 F.3d 367, 381 (9th Cir. 2003).
                   16         Here, Plaintiff concedes that it has contract-based remedies available to it.
                   17   Plaintiff admits that all the claims at issue are governed by the health benefit plans,
                   18   and indeed, it has brought a claim to enforce the terms of those contracts to recover
                   19   precisely the same damages that it seeks through its promissory estoppel cause of
                   20   action. Plaintiff’s promissory estoppel claim must be dismissed.
                   21         Plaintiff also fails to sufficiently state a claim for promissory estoppel. Here,
                   22   it is important to note that at least 34 claims are at issue for at least 15 different
                   23   patients. (Compl., ¶28). Plaintiff wholly fails to state sufficient facts for any of
                   24   these claims. “The elements of promissory estoppel are (1) a clear and
                   25   unambiguous promise by the promisor, and (2) reasonable, foreseeable and
                   26   detrimental reliance by the promisee.” Bushell v. JPMorgan Chase Bank, N.A., 220
                   27   Cal. App. 4th 915, 929 (2013). No such promises have been alleged here as
                   28   Plaintiff fails to allege with requisite specificity that United made a “clear and
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                    1   unambiguous promise” to Plaintiff for each and every one of the 34+ claims for 15+
                    2   patients at issue in this case.
                    3          Here, the decision in Malibu Behav. Health Servs. Inc. v. Magellan
                    4   Healthcare, Inc., No. 220CV01731ODWPVCX, 2020 WL 7646974, at *5-7 (C.D.
                    5   Cal. Dec. 23, 2020) (“Malibu”) is instructive. The provider plaintiff in Malibu
                    6   similarly alleged that the payor defendants promised to pay a specific percentage of
                    7   UCR over a series of phone calls. Id. The Malibu court held that it “need not accept
                    8   this merely conclusory allegation as true absent any supporting factual allegations
                    9   to satisfy the minimum plausibility standard” and that where the plaintiff’s “legal
                   10   theory is based on numerous oral contracts entered into over the course of
                   11   numerous utilization calls… it must provide notice of those calls, and their content”
                   12   to the defendant. Id. Accordingly, the Malibu court concluded that the provider
                   13   plaintiff “fail[ed] to plead the clear and unambiguous promises upon which its
                   14   claim for promissory estoppel is supposedly based.” So too, here.
                   15                 2.     Plaintiff’s Negligent Misrepresentation Claim Should Be
                                             Dismissed
                   16
                                             a.     Plaintiff’s Negligent Misrepresentation Claim Fails to
                   17                               Meet Rule 9(b)’s Heightened Pleading Standard
                   18          A plaintiff must prove the following in order to prevail on claim of negligent
                   19   misrepresentation: (1) misrepresentation of a past or existing material fact, without
                   20   reasonable ground for believing it to be true, and with intent to induce another's
                   21   reliance on the fact misrepresented; (2) ignorance of the truth and justifiable
                   22   reliance on the misrepresentation by the party to whom it was directed; and (3)
                   23   resulting damage. Hydro-Mill Co., Inc. v. Hayward, Tilton & Rolapp Ins.
                   24   Associates, Inc., 115 Cal.App.4th 1145, 1154 (2004). Thus, “[t]he elements of
                   25   negligent misrepresentation are the same [as intentional misrepresentation] except .
                   26   . . for negligent misrepresentation . . . the defendant made the representation
                   27   without reasonable ground for believing it to be true.” West v. JPMorgan Chase
                   28   Bank, N.A., 214 Cal.App.4th 780, 792 (2013).
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                    1         Moreover, a claim for negligent misrepresentation “sounds in fraud, [so] a
                    2   plaintiff must meet the pleading requirements of Federal Rule of Civil Procedure
                    3   9(b).” Davis v. Abbott Labs, No. EDCV21481JGBKKX, --- F.Supp.3d ---, 2021
                    4   WL 4902187, at *4 (C.D. Cal. Oct. 1, 2021) (internal citations omitted). Claims
                    5   sounding in fraud must allege “an account of the time, place, and specific content of
                    6   the false representations as well as the identities of the parties to the
                    7   misrepresentations.” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007).
                    8   “The particularity requirement necessitates pleading the how, what, when and
                    9   where of the alleged intentional misrepresentation.” Schaefer v. Robbins & Keehn,
                   10   LLP, No. 06CV821-H (BLM), 2006 WL 8427173, at *4 (S.D. Cal. Aug. 29, 2006).
                   11   Finally, “[w]here fraud has allegedly been perpetrated by a corporation, a plaintiff
                   12   must allege the names of the employees or agents who purportedly made the
                   13   statements or omissions that give rise to the claim, or at a minimum identify them
                   14   by title and/or job responsibility.” United States ex rel. Modglin v. DJO Global Inc.,
                   15   114 F. Supp. 3d 993, 1016 (C.D. Cal. 2015).
                   16          Here, Plaintiff’s allegations fail to meet the heightened pleading standards
                   17   required for a claim of negligent misrepresentation. Plaintiff fails to provide a
                   18   single “who, what, where, when, how much” allegation regarding the alleged
                   19   misrepresentations from United for the 34+ claims provided to the 15+ Patients. In
                   20   fact, Plaintiff fails to provide any specific allegations relating to any of the conduct
                   21   that occurred between Plaintiff and United for any of the medical procedure claims
                   22   at issue. Ultimately, Plaintiff makes no effort to meet its burden under either
                   23   Twombly, let alone Rule 9(b), to provide specific factual allegations regarding the
                   24   34 claims and the accompanying alleged misrepresentations that purportedly
                   25   induced Plaintiff’s performance of the medical services. Thus, Plaintiff
                   26   impermissibly lumps separate and distinct alleged misrepresentations for the
                   27   various Patient claims into one catch-all allegation. Plaintiff’s alleged
                   28   misrepresentation does not and cannot survive Rule 9(b)’s heightened pleading
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                    1   standard scrutiny for a negligent misrepresentation claim.
                    2         Relatedly, the Complaint does not specify the actual content of the alleged
                    3   misrepresentations, other than the conclusory claim that United would pay pursuant
                    4   to “UCR rates.” Coupled with Plaintiff’s failure to specify when these alleged
                    5   misrepresentations were made or to whom they were made, Plaintiff's conclusory
                    6   allegations would fail to pass muster even under normal pleading standards, let
                    7   alone the heightened standard for intentional misrepresentation. Prime Healthcare
                    8   Servs., Inc. v. Humana Ins. Co., 230 F. Supp. 3d 1194, 1208 (C.D. Cal. 2017)
                    9   (dismissing negligent misrepresentation claim where plaintiff did “not allege with
                   10   particularity when and where Defendants allegedly made the representations, which
                   11   of Defendant’s agents made the alleged representations, to whom the
                   12   representations were made, and how the representations regarding CP Members’
                   13   eligibility and Plaintiffs’ authorization are false.”). Accordingly, Plaintiff’s
                   14   negligent misrepresentation claim should be dismissed.
                   15                       b.     Plaintiff’s Negligent Misrepresentation Claim Fails
                                                   Because It Does Not Alleged an Actionable
                   16                              Misrepresentation.
                   17         Plaintiff’s negligent misrepresentation claim also fails as a matter of law. “To
                   18   be actionable, a negligent misrepresentation must ordinarily be as to past or existing
                   19   material facts. Predictions as to future events, or statements as to future action by
                   20   some third party, are deemed opinions, and not actionable fraud.” Tarmann v. State
                   21   Farm Mut. Auto. Ins. Co., 2 Cal.App.4th 153, 159 (1991). Plaintiff alleges as
                   22   follows:
                   23         29. Prior to providing services and in the case of each medical
                   24         procedure, Medical Provider would contact Defendant to obtain
                   25         representations and promises regarding the manner in which Defendant
                   26         pays for medical services and the specific medical services at issue for
                   27         each of the Patients.
                   28   (Compl., ¶ 29.) Here, Plaintiff has effectively alleged that United made negligently
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                    1   false promises to pay money in the future. There is no such cause of action.
                    2   Tarmann, 2 Cal.App.4th at 159 (sustaining demurrer to negligent misrepresentation
                    3   cause of action that essentially alleged a negligent false promise).
                    4         Courts routinely reject such claims. See, e.g., Reg’l Med. Ctr. of San Jose v.
                    5   WH Administrators, Inc., 2021 WL 2 4481667, at *9 (N.D. Cal. Sept. 30, 2021).
                    6   For example, in Tenet Healthsystem Desert, Inc. v. Fortis Ins. Co., 520 F.Supp.2d
                    7   1184, 1195 (C.D. Cal. 2007) (Phillips, J.), the court dismissed a claim by a provider
                    8   who alleged that a health care plan negligently misrepresented that it would pay
                    9   benefits for its member that had been admitted to the hospital. Applying California
                   10   law, the court held that the alleged representation by the health care plan could not
                   11   form the basis for a negligent misrepresentation claim under California law because
                   12   the defendant’s alleged representation concerned future conduct.
                   13         Similarly, in Prime Healthcare Servs., Inc. v. Humana Ins. Co., 230 F. Supp.
                   14   3d 1194, 1207 (C.D. Cal. 2017), the court rejected a negligent misrepresentation
                   15   claim based on the allegation that that the health plan allegedly misrepresented that
                   16   it would pay the plaintiff provider 100% of its billed charges for future medical
                   17   services. In Prime, the court dismissed a medical provider’s claim for negligent
                   18   misrepresentation on the basis, among other things, that it “fail[ed] to plead the first
                   19   element of a negligent misrepresentation claim: ‘the misrepresentation of a past or
                   20   existing material fact.’” 230 F.Supp.3d at 1207 (citation omitted) (emphasis
                   21   added). This is because an allegedly false promise to pay health plan benefits a
                   22   certain way in the future is not actionable as a claim for negligent misrepresentation
                   23   as a matter of law.
                   24         Similar to Plaintiff’s allegations here, the provider in the Prime case alleged
                   25   that the defendant health plan represented that “Plaintiffs would be reimbursed for
                   26   the services provided to Defendants’ commercial health plan members at 100% of
                   27   Plaintiffs’ billed charges.” Id. at 1208. In dismissing the provider’s claim for
                   28   negligent misrepresentation, the district court noted that the FAC merely alleged a
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                    1   false promise to pay Plaintiffs at a certain billing rate, for treatment rendered. Here,
                    2   too, Plaintiff merely alleges that United negligently misrepresented that payment
                    3   for the yet-to-be-provided services would be based on a usual, customary, or
                    4   reasonable amount. (Compl., ¶¶ 29, 33.) That cannot serve as a basis for a negligent
                    5   misrepresentation claim under California law.
                    6         In short, Plaintiff has failed to allege an actionable misrepresentation by
                    7   United. Accordingly, Plaintiff’s claim for relief for negligent misrepresentation is
                    8   incurably defective and should be dismissed with prejudice.
                    9
                              F.     Alternatively, Plaintiff Should Amend the Complaint with a More
                   10                Definite Statement
                   11         Under Federal Rules of Civil Procedure, Rule 12(e), “[a] party may move for
                   12   a more definite statement of a pleading to which a responsive pleading is allowed
                   13   but which is so vague or ambiguous that the party cannot reasonably prepare a
                   14   response.”
                   15         Plaintiff’s Complaint fails to identify specific facts regarding the 34+ claims
                   16   for 15+ patients that make up Plaintiff’s Complaint aside from vaguely alleging that
                   17   United stated it would pay UCR. The lack of specificity for each alleged
                   18   misrepresentation at issue (i.e., what are the services at issue, what is UCR, when
                   19   was the representation made, to whom and by whom, etc.) precludes United from
                   20   responding in any Answer, in either the affirmative or negative to the specific
                   21   allegations in each paragraph. See Fed. R. Civ. P. 8(b), (d); See also Tokio Marine
                   22   & Fire Ins. Co. v. Kaisha, 25 F. Supp. 2d 1071, 1078 (C.D. Cal. 1997). Without
                   23   this clarity, United is incapable of responding to the Complaint.
                   24         Moreover, Plaintiff’s ERISA claim fails to identify the plan terms at issue
                   25   and also fails to provide the underlying assignment sufficient to prove standing. For
                   26   all the reasons articulated, supra, Plaintiff does not meet the requirements of a well-
                   27   pleaded complaint, and thus Plaintiff should at a minimum amend the Complaint to
                   28   provide a more definite statement regarding the ERISA claims at issue.
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                    1   IV.   CONCLUSION
                    2         For the reasons set forth above, United hereby requests that this Court grant
                    3   its Motion to Dismiss and dismiss the Complaint.
                    4

                    5   Dated: April 18, 2022                      CROWELL & MORING LLP
                    6
                                                                   By: /s/ Nathanial J. Wood
                    7                                                 Jennifer S. Romano
                                                                      Nathanial J. Wood
                    8                                                 Marlee Santos
                                                                      Attorneys for Defendant
                    9                                                 UNITED HEALTHCARE
                                                                      SERVICES, INC.
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                    1                             CERTIFICATE OF SERVICE
                    2         Pursuant to Rule 5-3.2 of the Local Civil Rules of the United States District
                    3   Court for the Central District of California, I hereby certify under penalty of perjury
                    4   under the laws of the United States of America that on the below date, a true copy
                    5   of the above document was filed through the Court’s Case Management/Electronic
                    6   Case Filing (“CM/ECF”) System and served by that System upon all counsel of
                    7   record registered for the System and deemed to have consented to electronic service
                    8   in the above-captioned case.
                    9

                   10   Dated: April 18, 2022                       CROWELL & MORING LLP
                   11
                                                                    By: /s/ Nathanial J. Wood
                   12                                                  Jennifer S. Romano
                                                                       Nathanial J. Wood
                   13                                                  Marlee Santos
                                                                       Attorneys for Defendant
                   14                                                  UNITED HEALTHCARE
                                                                       SERVICES INC.
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